 

. -- 2:18-cr-00541-S.JO QMFES|H\§%R§[|Z€H§RP&Q€ 1 of 2 Page |D #:6

CENTRAL DlSTRlCT OF CAL|FORN|A

CASE SUMMARY

CaseNumber C ll l E ~ 0 U 5 l l""'tg{:l_D DefendantNumber 2

U.S.A. v. Doming`o Porti||o PAYAN
indictment |:| information

Year of Birth 1956

Investigative agency (FB|, DEA, etc.) DEA

NOTE: All items MUST be completed. lf you do not know the answer or a question is not applicable to your case, enter "NIA."

OFFENSENENUE

a. Ofl"ense charged as a:

|:l ClassA Misd_emeanor [] Minor Offense \:] Petty Offense
|:| Class B Misdemeanor ]:| Class C N|isdemeanor Fe|ony
b. Date of Offense 9/4/20‘| 3

c. County in which first offense occurred

 

Los Ange|es County

d.The crimes charged are alleged to have been committed in
(CHECK Al.L THAT APPLY):

Los Angeles
|:| Orange

|:| Riverside

|:| San Bernardino

|:| Ventura

|:| 5a nta Barbara
l:| San Luis Obispo
l:l Other

Citation of Offense

 

 

e. Division in which the MAJOR|TY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventural
|____[ Eastern (Riverside and San Bernardino} [:| Southern {Orange)

RELATED CASE

Has an indictment or Information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before tria|?

No |:I Yes

|f "Yes," Case Number:

 

Pursuant to Genera| Order ‘|6-05, criminal cases may be related
if a previously filed indictment or information and the present
case:
a. a rise out of the same conspiracy, com mon scheme,
transaction, series of tra nsactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretria|, trial or
sentencing proceedings if heard by differentjudges.

Re|ated case(s), if any (MUST MATCH NO'|`ICE OF RELATED
CASE):

 

 

CR-?Z (1 211?]

CASE SU MMARY

PREV|OUSLY F|LED COMPLAINT!CVB ClTATlON
n complaint/ch citation was previous|yr” filed onLJ\lfA

 

 

 

 

_._r""§__
Case Number: §§ an
. r~ ._1° ._: b
Asslgned Judge: ; ,;§ §
Charglng. _ . _- _g.. !__
The complaint!C\r'B citation: _-"` '_}: _U l'¥`l
|:l is still pending .j z {3
|:I was dismissed on: §_T ` T'-
__'m_
PREVIOUS COUNSEL "'_' "`-`
Was defendant previousiy represented? |:] No |:| Yes
lF YES, provide Name:
Phone Number:

 

COMPLEX CQSE

Are there 8 or more defendants in the |ndictment;'|nformation?
m Yes* No

Wi|l more than 1 2 days be required to present governments
evidence in the case-in-chief?

|:| Yes* No

*AN ORIGINAL AND 1 COPY {UNLESS ELEC|'RON|CALLY F|LED]
OF THE NOT|CE OF COMPLEX CASE MUST BE F|LED ATTHE
T|ME THE lND|CTMENT lS F|LED lF E|THER "YES" BOX lS
CHECKED.

SUPERSED|NG lNDICTMENT lNFORMATION

lS THlSA NEW DEFENDANT? m YEs |:l NO

This is the Superseding charge {i.e., '|st, 2nd}.
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
[:| is still pending before JudgefMagistrate Judge

 

l:l was previously dismissed on

 

Are there 8 or more defendants in the superseding case?

|:| Yes* |:] No
Wil[ more than 12 days be required to present government' s
evidence' in the case- in- -chief?

|:] Yes* |:| No
Was a Notice of Comp|ex Case filed on the indictment or
lnformation?
m No

[:[ Yes
*AN OHlG[NAL AND`I COPY OF THE NOT|CE OF CON|PLEX CASE
MUST BE F|LED ATTHE TlME THE SUPERSEDlNG INDlCTMENT lS
F|LED |F E|THER "YES" BOX |S CHECKED.
Page‘| of2

CaSe 2:18-cr-00541-S.]O Document 3 Filed 08/24/18 Page 2 of 2 Page |D #:7
UN|TED STATES DlSTR|CT COURT

CENTRAL DlSTRlCT OF CALIFORNIA
CASE SUMMARY

 

INTERPRETER
ls an interpreter required? |:l YES |:| NO
lF YES, list language and{or dialect:

 

OTHER
Nlale |:| Fema|e
U.S.Citizen |:] A|ien

A|ias Name{s}

 

 

This defendant is charged in:
|:| A|| counts

Only counts: 3

 

El This defendant is designated as "High Risk" per
18 USC § 314-6{a){2) by the U.S. Attorney.

m This defendant is designated as "Special Case" per
18 USC § 3166lbll7}.

|s defendantajuvenile? l:| Yes No
|FYES, should matter be sealed? [:| Yes [:| No

The area{s} of substantive law that will be involved in this case
include(s):

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint

b. Posted bond at complaint level on:
in the amount of$

c. PSA supervision? l:l YES l:l NO
d. ls on bail or release from another district:

 

 

Defendant is in custody:
a. Place ofincarceration: |:| State [:l Federal

b. Name of lnstitution:

 

c. |f Federa|, U.S. Niarshals Service Registration Number:

 

d, |:| Sale|y on this charge. Date and time of arrest:

 

e. On another conviction: |:| yes |:| No

|F YES; |:] State |:] Federa| l:] Writ oflssue
f. Awaiting trial on other charges: |:| Yes |:l No

lF YES? |:] State m Federal AND

Narne of Court:

 

Date transferred to federal custody:

 

l:| financial institution fraud [:l public corruption This person;proceeding 15 transferred from another district

E government fraud l:| tax offenses pursuant to F-R-Cr-P- _20 _21 _40
l:l environmental issues |:| mail/wire fraud

narcotics offenses |:| immigration offenses

|:| violent crimesffirearms |:| corporate fraud

l:l Other

EXCLUDABLE TIME

Determinations as to excludable time priorto filing indictment)‘information. EXPLA|N:

 

 

 

Date August 24, 2018

telex

Signature of Assistant U.S. Attorney

l<athy Yu
Print Name

 

 

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